Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 1 of 20




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Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 2 of 20




     (Slip Opinion)

                Attempted Exclusion of Agency Counsel from
               Congressional Depositions of Agency Employees
     Congress may not constitutionally prohibit agency counsel from accompanying agency
       employees called to testify about matters that potentially involve information protected
       by executive privilege. Such a prohibition would impair the President’s constitutional
       authority to control the disclosure of privileged information and to supervise the Exec-
       utive Branch’s communications with Congress.
     Congressional subpoenas that purport to require agency employees to appear without
       agency counsel are legally invalid and are not subject to civil or criminal enforcement.

                                                                                   May 23, 2019

               MEMORANDUM OPINION FOR THE ATTORNEY GENERAL
                    AND THE COUNSEL TO THE PRESIDENT

        On April 2, 2019, the House Committee on Oversight and Reform (the
     “Committee”) issued subpoenas seeking to compel testimony in two sep-
     arate investigations from two witnesses: John Gore, Principal Deputy
     Assistant Attorney General for the Department’s Civil Rights Division,
     and Carl Kline, the former head of the White House Personnel Security
     Office. The Committee sought to question both witnesses about matters
     that potentially involved communications that were protected by execu-
     tive privilege. Although the Committee’s Rule 15(e) permitted the wit-
     nesses to be accompanied at the depositions by private counsel, who
     would owe duties to the witnesses themselves, the rule purported to bar
     the presence of agency counsel, who would represent the interests of the
     Executive Branch. 1 Despite some efforts at accommodation on both sides,
     the Committee continued to insist that agency counsel could not attend the
     witnesses’ depositions. In response to your requests, we advised that a
     congressional committee may not constitutionally compel an executive
     branch witness to testify about potentially privileged matters while de-
     priving the witness of the assistance of agency counsel. Based upon our
     advice, Mr. Gore and Mr. Kline were directed not to appear at their depo-


         1 Tracking the text of the Committee’s rule, which excludes “counsel . . . for agencies,”

     we speak in this opinion of “agency counsel,” but our analysis applies equally to all
     counsel representing the interests of the Executive Branch, no matter whether the witness
     works for an “agency,” as defined by statute. See, e.g., Kissinger v. Reporters Comm. for
     Freedom of the Press, 445 U.S. 136, 156 (1980) (holding that the Office of the President
     is not an “agency” for purposes of the Freedom of Information Act).

                                                  1
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 3 of 20




                   Opinions of the Office of Legal Counsel in Volume 43

     sitions without agency counsel. This memorandum explains the basis for
     our conclusions.
        When this issue last arose, during the Obama Administration, this Of-
     fice recognized “constitutional concerns” with the exclusion of agency
     counsel, because such a rule “could potentially undermine the Executive
     Branch’s ability to protect its confidentiality interests in the course of the
     constitutionally mandated accommodation process, as well as the Presi-
     dent’s constitutional authority to consider and assert executive privilege
     where appropriate.” Authority of the Department of Health and Human
     Services to Pay for Private Counsel to Represent an Employee Before
     Congressional Committees, 41 Op. O.L.C. __, *5 n.6 (Jan. 18, 2017)
     (“Authority to Pay for Private Counsel ”). This Office, however, was
     asked to address only the retention of private counsel for a deposition and
     thus did not evaluate these constitutional concerns.
        Faced squarely with the constitutional question here, we concluded that
     Congress may not compel an executive branch witness to appear without
     agency counsel and thereby compromise the President’s constitutional
     authority to control the disclosure of privileged information and to super-
     vise the Executive Branch’s communications with congressional entities.
     The “Executive Branch’s longstanding general practice has been for agen-
     cy attorneys to accompany” agency employees who are questioned by
     congressional committees conducting oversight inquiries. Id. at *3. When
     an agency employee is asked to testify about matters within the scope of
     his official duties, he is necessarily asked to provide agency information.
     The agency must have the ability to protect relevant privileges and to
     ensure that any information provided on its behalf is accurate, complete,
     and properly limited in scope. Although private counsel may indirectly
     assist the employee in protecting privileged information, counsel’s obliga-
     tion is to protect the personal interests of the employee, not the interests
     of the Executive Branch. The Committee, therefore, could not constitu-
     tionally bar agency counsel from accompanying agency employees called
     to testify on matters within the scope of their official duties. In light of
     this constitutional infirmity, we advised that the Committee subpoenas
     purporting to require the witnesses to appear without agency counsel were
     legally invalid and not subject to civil or criminal enforcement.

                                            I.

        Congress generally obtains the information necessary to perform its
     legislative functions by making requests and issuing subpoenas for docu-

                                            2
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 4 of 20




           Attempted Exclusion of Agency Counsel from Congressional Depositions

     ments and testimony through its organized committees. See, e.g., Baren-
     blatt v. United States, 360 U.S. 109, 116 (1959); Watkins v. United States,
     354 U.S. 178, 187–88 (1957). Committees typically seek the information
     they need from the Executive Branch first by requesting documents and
     sometimes voluntary interviews. Following such requests, a committee
     may proceed with a hearing at which Members of Congress ask questions
     of the witness, and such a hearing is usually open to the public. When
     executive branch employees appear—either at a voluntary interview or a
     hearing—agency counsel or another agency representative traditionally
     accompany them. See, e.g., Representation of White House Employees, 4B
     Op. O.L.C. 749, 754 (1980).
        Congressional committees have only rarely attempted to collect infor-
     mation by compelling depositions conducted by committee staff. See
     Jay R. Shampansky, Cong. Research Serv., 95-949 A, Staff Depositions in
     Congressional Investigations 1–2 & n.3 (updated Dec. 3, 1999) (“Staff
     Depositions”). Historically, these efforts were confined to specific inves-
     tigations that were limited in scope. See, e.g., Inquiry into the Matter of
     Billy Carter and Libya: Hearings Before the Subcomm. to Investigate the
     Activities of Individuals Representing the Interests of Foreign Govern-
     ments of the S. Comm. on the Judiciary, 96th Cong. 1708–10, 1718–27,
     1742 (1980) (discussing issues related to Senate resolution authorizing
     depositions by staff members). Recently, however, committees have made
     increasing use of depositions, and the House of Representatives has
     adopted an order in the current Congress that permits depositions to go
     forward without the presence of any Member of Congress. See H. Res. 6,
     116th Cong. § 103(a)(1) (2019).
        Although executive branch witnesses have sometimes appeared and
     testified at staff depositions, the Executive Branch has frequently objected
     to the taking of compelled testimony by congressional staff members.
     These objections have questioned whether committees may properly
     authorize staff to depose senior executive officials, whether Members of
     Congress must be present during a committee deposition, and whether the
     procedures for such depositions adequately protect the President’s ability
     to protect privileged executive branch information. See, e.g., H. Comm.
     on International Relations, 104th Cong., Final Report of the Select Sub-
     committee to Investigate the United States Role in Iranian Arms Transfers
     to Croatia and Bosnia 54–56 (Comm. Print 1997) (summarizing the White
     House’s position that its officials would not “be allowed to sit for staff
     depositions, because to do so would intrude upon the President’s ‘deliber-
     ative process’”); see also Letter for Henry Waxman, Chairman, Commit-

                                            3
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 5 of 20




                   Opinions of the Office of Legal Counsel in Volume 43

     tee on Oversight and Government Reform, U.S. House of Representatives,
     from Dinah Bear, General Counsel, Council on Environmental Quality
     at 1 (Mar. 12, 2007) (“Allowing Committee staff to depose Executive
     Branch representatives on the record would be an extraordinary formali-
     zation of the congressional oversight process and would give unelected
     staff powers and authorities historically exercised only by Members of
     Congress participating in a public hearing.”); Letter for Henry A. Wax-
     man, Chairman, Committee on Oversight and Government Reform, U.S.
     House of Representatives, from Stephanie Daigle, Associate Administra-
     tor, U.S. Environmental Protection Agency at 2 (Apr. 12, 2007) (“[T]he
     use of formal interviews by Committee counsel, transcribed by a court
     reporter, rather than the customary informal briefings, have the potential
     to be overly adversarial and to intimidate Agency staff.”). No court has
     addressed whether Congress may use its oversight authority to compel
     witnesses to appear at staff depositions conducted outside the presence of
     any Member of Congress. Courts have recognized, however, that Con-
     gress’s ability to “delegate the exercise of the subpoena power is not
     lightly to be inferred” because it is “capable of oppressive use.” Shelton v.
     United States, 327 F.2d 601, 606 n.14 (D.C. Cir. 1963); cf. United States
     v. Bryan, 339 U.S. 323, 332 (1950) (concluding, in the context of a crimi-
     nal contempt-of-Congress citation, that “respondent could rightfully have
     demanded attendance of a quorum of the Committee and declined to
     testify or to produce documents so long as a quorum was not present”).
        The question we address here arose out of the Committee’s effort to
     compel two executive branch witnesses, Mr. Gore and Mr. Kline, to
     appear at depositions subject to the restrictions of Committee Rule 15(e).
     In relevant part, Rule 15(e) provides as follows:
          No one may be present at depositions except members, committee
          staff designated by the Chair of the Committee or the Ranking Mi-
          nority Member of the Committee, an official reporter, the witness,
          and the witness’s counsel. Observers or counsel for other persons, or
          for agencies under investigation, may not attend.
     H. Comm. on Oversight & Reform, 116th Cong., Rule 15(e). In both in-
     stances, the Committee sought executive branch information, including
     matters that implicated executive privilege, but it asserted the authority to
     compel the witness to answer questions without the assistance of agency
     counsel. We summarize here the efforts at accommodation made by the
     Executive Branch and the Committee in connection with the disputes.


                                            4
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 6 of 20




           Attempted Exclusion of Agency Counsel from Congressional Depositions

                                           A.

        The Committee subpoenaed Mr. Gore to testify about privileged mat-
     ters concerning the Secretary of Commerce’s decision to include a citi-
     zenship question on the 2020 United States Census. On March 7, 2019,
     Mr. Gore voluntarily appeared before the Committee, with the assistance
     of Department counsel, for a transcribed interview on the same topic. Mr.
     Gore answered all of the Committee’s questions, except for those that
     were determined by Department counsel to concern confidential delibera-
     tions within the Executive Branch. The Department’s interest in protect-
     ing this subject matter was particularly acute because the Secretary of
     Commerce’s decision was subject to active litigation, and those challeng-
     es were pending in the Supreme Court. See Dep’t of Commerce v. New
     York, No. 18-966 (U.S.) (argued Apr. 23, 2019). Some of the information
     sought by the Committee had previously been held by a federal district
     court to be protected by the deliberative process privilege, as well as other
     privileges, in civil discovery.
        On April 2, the Committee served Mr. Gore with a deposition subpoena
     in an effort to compel responses to the questions that he did not answer
     during his March 7 interview. Committee staff advised that Committee
     Rule 15(e) required the exclusion of the agency counsel who had previ-
     ously represented Mr. Gore. On April 9, the Department explained that
     the Committee’s effort to bar Department counsel would unconstitutional-
     ly infringe upon the prerogatives of the Executive Branch. See Letter for
     Elijah E. Cummings, Chairman, Committee on Oversight and Reform,
     U.S. House of Representatives, from Stephen E. Boyd, Assistant Attorney
     General, Office of Legislative Affairs at 2–3 (Apr. 9, 2019). Because the
     Committee sought information from Mr. Gore relating to his official
     duties, the Department explained that agency counsel must be present to
     ensure appropriate limits to Mr. Gore’s questioning, to ensure the accura-
     cy and completeness of information provided on behalf of the Depart-
     ment, and to ensure that a Department official was not pressed into reveal-
     ing privileged information. Id. The Attorney General determined that Mr.
     Gore would not appear at the deposition without the assistance of De-
     partment counsel. Id. at 3.
        On April 10, 2019, the Committee responded by disputing the Depart-
     ment’s constitutional view, contending that Committee Rule 15(e) had
     been in place for more than a decade and reflected an appropriate exercise
     of Congress’s authority to determine the rules of its own proceedings. See
     Letter for William P. Barr, Attorney General, from Elijah E. Cummings,

                                            5
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 7 of 20




                   Opinions of the Office of Legal Counsel in Volume 43

     Chairman, Committee on Oversight and Reform, U.S. House of Repre-
     sentatives at 2–3 (Apr. 10, 2019) (“April 10 Cummings Letter”) (citing
     U.S. Const. art. I, § 5, cl. 2). The Committee advised that Mr. Gore could
     be accompanied by his private counsel, id. at 2, and offered to allow
     Department counsel to wait in a separate room during the deposition, id.
     at 3. The Committee stated that, if necessary, Mr. Gore could request a
     break during the deposition to consult with Department counsel. Id.
        On April 24, 2019, the Department reiterated its constitutional objec-
     tion and explained that the Committee’s proposed accommodation would
     not satisfy the Department’s need to have agency counsel assist Mr. Gore
     at the deposition. See Letter for Elijah E. Cummings, Chairman, Commit-
     tee on Oversight and Reform, U.S. House of Representatives, from Ste-
     phen E. Boyd, Assistant Attorney General, Office of Legislative Affairs
     at 1 (Apr. 24, 2019). Mr. Gore therefore did not appear on the noticed
     deposition date.

                                           B.

        The Committee subpoenaed Mr. Kline to testify concerning the activi-
     ties of the White House Personnel Security Office in adjudicating security
     clearances during his time as head of the Office. On March 20, 2019, the
     current White House Chief Security Officer, with representation by the
     Office of Counsel to the President (“Counsel’s Office”), briefed the
     Committee’s staff on the White House security clearance process for
     nearly 90 minutes and answered questions from a Member of Congress
     and staff. On April 1, 2019, the White House offered to have Mr. Kline
     appear voluntarily before the Committee for a transcribed interview.
        Instead, the Committee subpoenaed Mr. Kline on April 2, 2019. The
     Committee indicated that Committee Rule 15(e) would bar any repre-
     sentative from the Counsel’s Office from attending Mr. Kline’s deposi-
     tion. On April 18, 2019, the Counsel’s Office advised the Committee that
     a representative from that office must attend to represent the White
     House’s interests in any deposition of Mr. Kline. See Letter for Elijah E.
     Cummings, Chairman, Committee on Oversight and Reform, U.S. House
     of Representatives, from Michael M. Purpura, Deputy Counsel to the
     President at 2 (Apr. 18, 2019). The Counsel’s Office relied on the views
     concerning the exclusion of agency counsel that were articulated by the
     Department in its April 9, 2019 letter to the Committee. Id. The Counsel’s
     Office explained that the President has the authority to raise privilege


                                            6
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 8 of 20




           Attempted Exclusion of Agency Counsel from Congressional Depositions

     concerns at any point during a deposition, and that this could occur only if
     an attorney from the Counsel’s Office accompanied Mr. Kline. Id.
        On April 22, 2019, the Committee responded, stating, as it had in cor-
     respondence concerning Mr. Gore, that its rules were justified based upon
     Congress’s constitutional authority to determine the rules of its proceed-
     ings. See U.S. Const. art. I, § 5, cl. 2. The Committee asserted that Com-
     mittee Rule 15(e) had been enforced under multiple chairmen. See Letter
     for Pat Cipollone, Counsel to the President, from Elijah E. Cummings,
     Chairman, Committee on Oversight and Reform, U.S. House of Repre-
     sentatives at 3 (Apr. 22, 2019) (“April 22 Cummings Letter”). The Com-
     mittee advised that Mr. Kline could be accompanied by his private coun-
     sel, and, as with Mr. Gore, offered to permit attorneys from the Counsel’s
     Office to wait outside the deposition room in case Mr. Kline requested to
     consult with them during the deposition. Id.
        In an April 22, 2019 reply, the Counsel’s Office explained that, in light
     of the Committee’s decision to apply Rule 15(e), the Acting Chief of
     Staff to the President had directed Mr. Kline not to attend the deposition
     for the reasons stated in the April 18, 2019 letter. See Letter for Elijah
     Cummings, Chairman, Committee on Oversight and Reform, U.S. House
     of Representatives, from Michael M. Purpura, Deputy Counsel to the
     President at 1 (Apr. 22, 2019). The Committee and the Counsel’s Office
     subsequently agreed to a voluntary transcribed interview of Mr. Kline
     with the participation of the Counsel’s Office. Mr. Kline was interviewed
     on May 1, 2019. He answered some of the Committee’s questions, but at
     the direction of the representative from the Counsel’s Office, he did not
     address particular matters implicating privileged information.

                                           II.

        Under our constitutional separation of powers, both Congress and the
     Executive Branch must respect the legitimate prerogatives of the other
     branch. See, e.g., INS v. Chadha, 462 U.S. 919, 951 (1983) (“The hydrau-
     lic pressure inherent within each of the separate Branches to exceed the
     outer limits of its power, even to accomplish desirable objectives, must
     be resisted.”); United States v. Am. Tel. & Tel. Co., 567 F.2d 121, 127,
     130–31 (D.C. Cir. 1977) (“[E]ach branch should take cognizance of an
     implicit constitutional mandate to seek optimal accommodation through
     a realistic evaluation of the needs of the conflicting branches in the par-
     ticular fact situation.”). Here, the Committee sought to apply Committee
     Rule 15(e) to compel executive branch officials to testify about poten-

                                            7
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 9 of 20




                      Opinions of the Office of Legal Counsel in Volume 43

     tially privileged matters while barring agency counsel from the room. We
     concluded that the Committee could not constitutionally compel such an
     appearance for two reasons. First, the exclusion of agency counsel impairs
     the President’s ability to exercise his constitutional authority to control
     privileged information of the Executive Branch. Second, the exclusion
     undermines the President’s ability to exercise his constitutional authority
     to supervise the Executive Branch’s interactions with Congress.

                                                A.

        Committee Rule 15(e) unconstitutionally interferes with the President’s
     right to control the disclosure of privileged information. Both the Su-
     preme Court and this Office have long recognized the President’s “consti-
     tutional authority to protect national security and other privileged infor-
     mation” in the exercise of the President’s Article II powers. Authority
     of Agency Officials to Prohibit Employees from Providing Information
     to Congress, 28 Op. O.L.C. 79, 80 (2004) (“Authority of Agency Offi-
     cials”); see Dep’t of the Navy v. Egan, 484 U.S. 518, 527 (1988) (the
     President’s “authority to classify and control access to information bear-
     ing on national security . . . flows primarily from this constitutional in-
     vestment of power in the President [as Commander in Chief ] and exists
     quite apart from any explicit congressional grant”); United States v.
     Nixon, 418 U.S. 683, 705–06 (1974) (“Certain powers and privileges flow
     from the nature of enumerated powers; the protection of the confidentiali-
     ty of Presidential communications has similar constitutional underpin-
     nings.”). That authority is “not limited to classified information, but
     extend[s] to all . . . information protected by [executive] privilege,” in-
     cluding presidential and attorney-client communications, attorney work
     product, deliberative process information, law enforcement files, and
     national security and foreign affairs information. Authority of Agency
     Officials, 28 Op. O.L.C. at 81 (emphasis added). 2 Protection of such
     information is “fundamental to the operation of Government and inextri-


        2
          Although some of these components, such as deliberative process information, paral-
     lel aspects of common law privileges, each falls within the doctrine of executive privi-
     lege. See, e.g., Whistleblower Protections for Classified Disclosures, 22 Op. O.L.C. 92,
     101–102 n.34 (1998); Assertion of Executive Privilege Regarding White House Counsel’s
     Office Documents, 20 Op. O.L.C. 2, 3 (1996) (opinion of Attorney General Janet Reno)
     (observing that “[e]xecutive privilege applies” to certain White House documents “be-
     cause of their deliberative nature, and because they fall within the scope of the attorney-
     client privilege and the work-product doctrine”).

                                                 8
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 10 of 20




            Attempted Exclusion of Agency Counsel from Congressional Depositions

      cably rooted in the separation of powers under the Constitution.” Nixon,
      418 U.S. at 708. It ensures that “high Government officials and those who
      advise and assist them in the performance of their manifold duties” can
      engage in full and candid decisionmaking, id. at 705, 708, and it is neces-
      sary to protect sensitive security and other information that could be used
      to the public’s detriment.
         The President may protect such privileged information from disclosure
      in the Executive’s responses to congressional oversight proceedings. See
      Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498
      F.2d 725, 731 (D.C. Cir. 1974). As we have explained, “[i]n the congres-
      sional oversight context, as in all others, the decision whether and under
      what circumstances to disclose classified information” or other forms of
      privileged information “must be made by someone who is acting on the
      official authority of the President and who is ultimately responsible to the
      President.” Whistleblower Protections for Classified Disclosures, 22 Op.
      O.L.C. 92, 100 (1998) (“Whistleblower Protections”). Thus, “‘Congress
      may not vest lower-ranking personnel in the Executive branch with a
      “right” to furnish national security or other privileged information to a
      member of Congress without receiving official authorization to do so.’”
      Authority of Agency Officials, 28 Op. O.L.C. at 80 (quoting March 9,
      1998 Statement of Administration Policy on S. 1668, 105th Cong.);
      see Constitutionality of the Direct Reporting Requirement in Section
      802(e)(1) of the Implementing Recommendations of the 9/11 Commission
      Act of 2007, 32 Op. O.L.C. 27, 43 (2008) (“Direct Reporting Require-
      ment ”) (“We have long concluded that statutory provisions that purport to
      authorize Executive Branch officers to communicate directly with Con-
      gress without appropriate supervision . . . infringe upon the President’s
      constitutional authority to protect against the unauthorized disclosure of
      constitutionally privileged information.”). Because “statutes may not
      override the constitutional doctrine of executive privilege,” they may not
      “prohibit the supervision of the disclosure of any privileged information,
      be it classified, deliberative process or other privileged material.” Au-
      thority of Agency Officials, 28 Op. O.L.C. at 81. It necessarily follows
      that congressional committees’ rules of procedure may not be used to
      override privilege or the Executive’s ability to supervise the disclosure of
      privileged information.
         The foregoing principles governed our analysis here. In order to control
      the disclosure of privileged information, the President must have the
      discretion to designate a representative of the government to protect this
      interest at congressional depositions of agency employees. When employ-

                                             9
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 11 of 20




                       Opinions of the Office of Legal Counsel in Volume 43

      ees testify about information created or received during their employment,
      they are disclosing the Executive Branch’s information. The same thing is
      true for former employees. 3 Yet, in many cases, agency employees will
      have only limited experience with executive privilege and may not have
      the necessary legal expertise to determine whether a question implicates
      a protected privilege. Moreover, the employees’ personal interests in
      avoiding a conflict with the committee may not track the longer-term
      interests of the Executive Branch. Without an agency representative at
      the deposition to evaluate which questions implicate executive privilege,
      an employee may be pressed—wittingly or unwittingly—into revealing
      protected information such as internal deliberations, attorney-client com-
      munications, or national security information. See Nixon, 418 U.S. at
      705–06; Senate Select Comm., 498 F.2d at 731. Or the agency employee
      may be pressed into responding to inquiries that are beyond the scope
      of Congress’s oversight authority. See Barenblatt, 360 U.S. at 111–12
      (“Congress may only investigate into those areas in which it may poten-
      tially legislate or appropriate [and] cannot inquire into matters which are
      within the exclusive province of one of the other branches of the Govern-
      ment.”).
         Even if the President has not yet asserted a particular privilege, exclud-
      ing agency counsel would diminish the President’s ability to decide
      whether a privilege should be asserted. The Executive Branch cannot
      foresee every question or topic that may arise during a deposition, but
      if questions seeking privileged information are asked, agency counsel,
      if present, can ensure that the employee does not impermissibly disclose
      privileged information. See Memorandum for Rudolph W. Giuliani,
      Associate Attorney General, from Theodore B. Olson, Assistant Attorney
      General, Office of Legal Counsel, Re: Congressional Demand for Deposi-
      tion of Counsel to the President Fred F. Fielding at 2 (July 23, 1982)
      (“A witness before a Congressional committee may be asked—under
      threat of contempt—a wide range of unanticipated questions about highly
      sensitive deliberations and thought processes. He therefore may be unable
      to confine his remarks only to those which do not impair the deliberative
      process.”). The President, through his subordinates, must be able to inter-
      vene before that information is disclosed, lest the effectiveness of the


         3 See, e.g., Assertion of Executive Privilege Concerning the Dismissal and Replace-
      ment of U.S. Attorneys, 31 Op. O.L.C. 1 (2007) (opinion of Acting Attorney General Paul
      D. Clement) (concluding that the President may assert executive privilege with respect to
      testimony by two former White House officials).

                                                10
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 12 of 20




            Attempted Exclusion of Agency Counsel from Congressional Depositions

      privilege be diminished. See Memorandum for Peter J. Wallison, Counsel
      to the President, from Charles J. Cooper, Assistant Attorney General,
      Office of Legal Counsel at 2 (Sept. 8, 1986) (agency counsel attending
      congressional interviews can advise “about the sensitivity of particular
      information and, if need be, to terminate the interview to avoid disclosure
      of privileged information”). Accordingly, Committee Rule 15(e) unduly
      interferes with the President’s supervision of the disclosure of privileged
      information by barring agency counsel from the deposition of an agency
      employee concerning official activities.
         These concerns were readily apparent in connection with the subpoenas
      of Mr. Gore and Mr. Kline. In both instances, the Committee sought
      information about communications among senior executive branch offi-
      cials regarding official decisions. There was no doubt that the depositions
      would implicate matters in which the Executive Branch had constitution-
      ally based confidentiality interests. Indeed, in Mr. Gore’s March 7 inter-
      view, the Committee repeatedly asked him questions concerning poten-
      tially privileged matters—some of which a federal court had already held
      were protected by privilege in civil discovery. See New York v. U.S. Dep’t
      of Commerce, 351 F. Supp. 3d 502, 548 n.19 (S.D.N.Y. 2019) (summariz-
      ing discovery orders). And the Committee then noticed the deposition
      precisely to compel answers to such questions. See April 10 Cummings
      Letter at 3 (“The Department is well aware of the scope of the deposition,
      based on the issues raised at Mr. Gore’s March 7 interview and the list of
      18 [previously unanswered] questions provided by Committee staff.”).
      In Mr. Kline’s May 1 interview, the witness was similarly instructed not
      to answer a number of questions implicating the Executive Branch’s
      confidentiality interests. Prohibiting agency counsel from attending the
      depositions would have substantially impaired the Executive Branch’s
      ability to continue to protect such privileged information and to make
      similar confidentiality determinations in response to new questions. The
      Committee’s demands that the witnesses address questions already
      deemed unanswerable by agency counsel indicated that the exclusion of
      agency counsel would have been intended, in no small part, to circumvent
      executive branch mechanisms for preserving confidentiality.

                                            B.

         Committee Rule 15(e) also interferes with the President’s authority
      to supervise the Executive Branch’s interactions with Congress. The
      Constitution vests “[t]he executive Power” in the President, U.S. Const.

                                            11
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 13 of 20




                     Opinions of the Office of Legal Counsel in Volume 43

      art. II, § 1, cl. 1, and requires him to “take Care that the Laws be faithfully
      executed,” id. § 3. This power and responsibility grant the President the
      “constitutional authority to supervise and control the activity of subordi-
      nate officials within the executive branch.” The Legal Significance of
      Presidential Signing Statements, 17 Op. O.L.C. 131, 132 (1993) (citing
      Franklin v. Massachusetts, 505 U.S. 788, 800 (1992)); see also Constitu-
      tionality of Statute Requiring Executive Agency to Report Directly to
      Congress, 6 Op. O.L.C. 632, 637 (1982) (“Constitutionality of Reporting
      Statute”). As we have previously explained, “‘the right of the President to
      protect his control over the Executive Branch [is] based on the fundamen-
      tal principle that the President’s relationship with his subordinates must
      be free from certain types of interference from the coordinate branches of
      government in order to permit the President effectively to carry out his
      constitutionally assigned responsibilities.’” Authority of HUD’s Chief
      Financial Officer to Submit Final Reports on Violations of Appropriations
      Laws, 28 Op. O.L.C. 248, 252 (2004) (“Authority of HUD’s CFO”) (quot-
      ing Constitutionality of Reporting Statute, 6 Op. O.L.C. at 638–39).
         The President’s authority to supervise his subordinates in the Executive
      Branch includes the power to control communications with, and infor-
      mation provided to, Congress on behalf of the Executive Branch. See
      Direct Reporting Requirement, 32 Op. O.L.C. at 31, 39; Authority of
      Agency Officials, 28 Op. O.L.C. at 80–81; cf. United States ex rel. Touhy
      v. Ragen, 340 U.S. 462, 467–68 (1951) (upholding “a refusal by a subor-
      dinate of the Department of Justice to submit papers to the court in re-
      sponse to its subpoena duces tecum on the ground that the subordinate
      [wa]s prohibited from making such submission by” a valid order of the
      Attorney General). At a minimum, this responsibility includes the power
      to know about, and assert authority over, the disclosures his subordinates
      make to Congress regarding their official duties.
         Congressional efforts to prevent the President from supervising the Ex-
      ecutive Branch’s interactions with Congress interfere with the President’s
      ability to perform his constitutional responsibilities. We have long recog-
      nized that statutes, “if construed or enforced to permit Executive Branch
      officers to communicate directly with Congress without appropriate
      supervision by the President or his subordinates, would violate the consti-
      tutional separation of powers and, specifically, the President’s Article II
      authority to supervise Executive Branch personnel.” Direct Reporting
      Requirement, 32 Op. O.L.C. at 31–32, 39 (citing Authority of the Special
      Counsel of the Merit Systems Protection Board to Litigate and Submit
      Legislation to Congress, 8 Op. O.L.C. 30, 31 (1984); Authority of HUD’s

                                             12
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 14 of 20




            Attempted Exclusion of Agency Counsel from Congressional Depositions

      CFO, 28 Op. O.L.C. at 252–53; Authority of Agency Officials, 28 Op.
      O.L.C. at 80–82). It is on this basis that the Department has consistently
      resisted congressional attempts to require, by statute, that executive
      branch officials submit information to Congress in the form of reports
      without prior opportunity for review by their superiors. See, e.g., id. at
      34–39 (“[S]tatutory reporting requirements cannot constitutionally be
      applied to interfere with presidential supervision and control of the com-
      munications that Executive Branch officers . . . send to Congress.”);
      Authority of HUD’s CFO, 28 Op. O.L.C. at 252–53; Access to Classified
      Information, 20 Op. O.L.C. 402, 403–05 (1996); Inspector General Legis-
      lation, 1 Op. O.L.C. 16, 18 (1977).
         Information sought in congressional depositions is no different. An
      agency employee testifying about official activities may be asked to
      disclose confidential information, yet the employee may lack the expertise
      necessary to protect privileged information on his own. Nor will an em-
      ployee’s private counsel always adequately protect such information.
      Private counsel may not have the expertise to recognize all situations
      raising issues of executive privilege, and in any event, recognizing such
      situations and protecting privileged information is not private counsel’s
      job. Private counsel’s obligation is to protect the personal interests of the
      employee, not the interests of the Executive Branch. An agency repre-
      sentative, by contrast, is charged with protecting the Executive Branch’s
      interests during the deposition—ensuring that the information the em-
      ployee provides to Congress is accurate, complete, and within the proper
      scope, and that privileged information is not disclosed. The Committee’s
      rule prohibiting agency counsel from accompanying an agency employee
      to a deposition would effectively, and unconstitutionally, require that
      employee to report directly to Congress on behalf of the Executive
      Branch, without an adequate opportunity for review by an authorized
      representative of the Executive Branch.

                                            C.

        Having concluded that the Committee could not constitutionally bar
      agency counsel from accompanying Mr. Gore or Mr. Kline to depositions,
      we further advised that the subpoenas that required them to appear with-
      out agency counsel, over the Executive Branch’s objections, exceeded the
      Committee’s lawful authority and therefore lacked legal effect. The
      Committee could not constitutionally compel Mr. Gore or Mr. Kline to
      appear under such circumstances, and thus the subpoenas could not be

                                            13
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 15 of 20




                    Opinions of the Office of Legal Counsel in Volume 43

      enforced by civil or criminal means or through any inherent contempt
      power of Congress.
         This conclusion is consistent with our treatment of referrals to the De-
      partment of contempt-of-Congress citations for criminal prosecution
      under 2 U.S.C. §§ 192 and 194. We have opined that “the criminal con-
      tempt of Congress statute does not apply to the President or presidential
      subordinates who assert executive privilege.” Application of 28 U.S.C.
      § 458 to Presidential Appointments of Federal Judges, 19 Op. O.L.C. 350,
      356 (1995); see also Whether the Department of Justice May Prosecute
      White House Officials for Contempt of Congress, 32 Op. O.L.C. 65, 65–
      69 (2008) (concluding that the Department cannot take “prosecutorial
      action, with respect to current or former White House officials who . . .
      declined to appear to testify, in response to subpoenas from a congres-
      sional committee, based on the President’s assertion of executive privi-
      lege”); Prosecution for Contempt of Congress of an Executive Branch
      Official Who Has Asserted a Claim of Executive Privilege, 8 Op. O.L.C.
      101, 101–102 (1984) (“Prosecution for Contempt ”) (finding that “the
      contempt of Congress statute was not intended to apply and could not
      constitutionally be applied to an Executive Branch official” who followed
      presidential instructions to “assert[] the President’s claim of executive
      privilege”). Nor may Congress “utilize its inherent ‘civil’ contempt pow-
      ers to arrest, bring to trial, and punish an executive official who assert[s]
      a Presidential claim of executive privilege.” Prosecution for Contempt,
      8 Op. O.L.C. at 140 n.42. The fundamental constitutional principles
      underlying executive privilege would be vitiated if any executive branch
      employee following a direction to invoke the privilege could be prosecut-
      ed for doing so.
         Similarly, we believe it would be unconstitutional to enforce a subpoe-
      na against an agency employee who declined to appear before Congress,
      at the agency’s direction, because the committee would not permit an
      agency representative to accompany him. As discussed above, having an
      agency representative present at a deposition of an agency employee may
      be necessary for the President to exercise his authority to supervise the
      disclosure of privileged information, as well as to ensure that the testi-
      mony provided is accurate, complete, and properly limited in scope.
      Therefore, agency employees, like Mr. Gore and Mr. Kline, who follow
      an agency instruction not to appear without the presence of an agency
      representative are acting lawfully to protect the constitutional interests of
      the Executive Branch.


                                            14
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 16 of 20




            Attempted Exclusion of Agency Counsel from Congressional Depositions

                                            III.

         In reaching this conclusion, we considered the contrary arguments ad-
      vanced by the Committee in its April 10 and April 22 letters. The Com-
      mittee’s principal argument was that prohibiting agency counsel from
      attending depositions of agency employees poses no constitutional con-
      cern because Congress has the authority to “determine the Rules of its
      Proceedings.” U.S. Const. art. I, § 5, cl. 2; see April 10 Cummings Letter
      at 2–3; April 22 Cummings Letter at 3. But congressional rulemaking
      authority “only empowers Congress to bind itself.” Chadha, 462 U.S. at
      955 n.21 (positing that the Constitution’s provision of several powers like
      procedural rulemaking where each House of Congress can act alone
      reveals “the Framers’ intent that Congress not act in any legally binding
      manner outside a closely circumscribed legislative arena, except in specif-
      ic and enumerated instances”). Such rulemaking authority does not grant
      Congress the power to compel testimony from agency officials under
      circumstances that interfere with the legitimate prerogatives of the Execu-
      tive Branch.
         Congress’s authority to make rules governing its own procedures does
      not mean that the constitutional authorities of a co-equal branch of gov-
      ernment are checked at the door. See Barenblatt, 360 U.S. at 112 (noting
      that when engaging in oversight, Congress “must exercise its powers
      subject to the limitations placed by the Constitution on governmental
      action”). To the contrary, Congress “may not by its rules ignore constitu-
      tional restraints.” United States v. Ballin, 144 U.S. 1, 5 (1892). Congress
      may not, by statute, override the President’s constitutional authority to
      control the disclosure of privileged information and to supervise executive
      branch employees. See Direct Reporting Requirement, 32 Op. O.L.C. at
      43–44; Whistleblower Protections, 22 Op. O.L.C. at 100. It necessarily
      follows that a committee may not accomplish the same result by adopting
      a rule governing its own proceedings.
         The Committee also justified Committee Rule 15(e) on the ground that
      it has been in place for a decade. See April 10 Cummings Letter at 3;
      April 22 Cummings Letter at 3. But congressional committee use of
      depositions is a relatively recent innovation, and historically such
      “[d]epositions have been used in a relatively small number of major
      congressional investigations.” Staff Depositions at 1. Moreover, commit-
      tees proposing the use of depositions have previously faced objections
      that they may improperly “‘circumvent the traditional committee pro-
      cess’” of hearings and staff interviews and may “compromise the rights of

                                            15
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 17 of 20




                    Opinions of the Office of Legal Counsel in Volume 43

      deponents.” Id. at 2; see supra pp. 3–4. Accordingly, the Committee’s
      limited previous use of depositions from which agency counsel were
      excluded does not reflect a “long settled and established practice,” much
      less one that has been met by acquiescence from the Executive Branch.
      NLRB v. Noel Canning, 573 U.S. 513, 524 (2014) (internal quotation
      marks and brackets omitted).
         In addition, the Committee claimed that Rule 15(e) serves the purpose
      of “ensur[ing] that the Committee is able to depose witnesses in further-
      ance of its investigations without having in the room representatives of
      the agency under investigation.” April 10 Cummings Letter at 2; April 22
      Cummings Letter at 3. But that assertion does no more than restate the
      rule’s effect, without advancing any legitimate rationale for excluding the
      agency’s representatives, much less one sufficient to alter the constitu-
      tional calculus. The Committee here did not seek information concerning
      the private affairs of agency employees or articulate any particularized
      interest in excluding agency counsel. In fact, agency counsel appeared at
      the staff interviews of both Mr. Gore and Mr. Kline. In view of the Presi-
      dent’s clear and well-established interests in protecting privileged infor-
      mation and supervising the Executive Branch’s interactions with Con-
      gress, the Committee offered no countervailing explanation for why it
      would be necessary to exclude any agency representative from these two
      depositions.
         Indeed, the Committee has not explained why, as a general matter, the
      House needs to exclude agency counsel from depositions of agency offi-
      cials. Agency representatives routinely accompany and support agency
      employees during congressional hearings and staff interviews. See Au-
      thority to Pay for Private Counsel, 41 Op. O.L.C. at *3 (“When congres-
      sional committees seek to question employees of an Executive Branch
      agency in the course of a congressional oversight inquiry of the agency,
      the Executive Branch’s longstanding general practice has been for agency
      attorneys to accompany the witnesses.”); Reimbursing Justice Department
      Employees for Fees Incurred in Using Private Counsel Representation at
      Congressional Depositions, 14 Op. O.L.C. 132, 133 (1990) (“[W]hen
      Department employees are asked in their official capacities to give oral
      testimony for a congressional investigation (whether at a hearing, inter-
      view or deposition), a Department counsel or other representative will
      normally accompany the witness.”); Representation of White House
      Employees, 4B Op. O.L.C. at 754 (“[L]egitimate governmental interests”
      are “[o]rdinarily . . . monitored by agency counsel who accompany execu-
      tive branch employees called to testify before congressional commit-

                                            16
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 18 of 20




             Attempted Exclusion of Agency Counsel from Congressional Depositions

      tees.”). There is no basis for believing that this routine practice diminishes
      the Committee’s ability to acquire any information it may legitimately
      seek. 4
         In defending the exclusion of agency counsel, the Committee pointed
      out that the witnesses may bring their private counsel to the depositions.
      April 10 Cummings Letter at 2; April 22 Cummings Letter at 3. But
      allowing agency employees to be accompanied by private counsel is no
      substitute for the presence of agency counsel. In addition to imposing
      unnecessary burdens on agency employees by requiring the retention of
      private counsel, the practice does not adequately protect the agency’s
      interests. As explained above, the President must be able to supervise who
      discloses executive branch information and under what conditions. An
      employee’s private counsel, however, represents the interests of the
      employee, not the agency, and “the attorney owes a fiduciary duty and a
      duty of confidentiality to the employee, not the agency.” Authority to Pay
      for Private Counsel, 41 Op. O.L.C. at *5; see also Representation of
      White House Employees, 4B Op. O.L.C. at 754 (“[A]ny counsel directed
      to represent governmental interests must be controlled by the Govern-
      ment, and private counsel retained by employees to represent personal
      interests should not be permitted to assert governmental interests or
      privileges.”). Even if the private counsel may sometimes assist the agency
      employee in protecting agency information, the Committee cannot require
      the Executive Branch to rely upon the private counsel to make such judg-
      ments. Private counsel is not likely to know as well as agency counsel
      when a line of questioning, especially an unanticipated one, might intrude
      upon the Executive Branch’s constitutionally protected interests.
         Finally, we concluded that the Committee’s proposed accommoda-
      tion—to make a separate room available for agency counsel at the two
      depositions—was insufficient to remedy these constitutional concerns.
      See April 10 Cummings Letter at 3; April 22 Cummings Letter at 3. That

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            In a similar vein, agency employees are routinely represented by agency counsel
      in connection with depositions in civil litigation and, where appropriate, agency counsel
      will instruct agency employees not to answer questions that implicate privilege. Further,
      as the Supreme Court recognized in Touhy, 340 U.S. 462, the head of an agency may
      properly bar subordinate officials from disclosing privileged agency information, and
      departments have accordingly enacted so-called Touhy regulations to ensure that privi-
      leged information is appropriately protected by agency officials in civil discovery. See,
      e.g., 28 C.F.R. §§ 16.21–16.29 (Department of Justice Touhy regulations). Just as agency
      counsel may properly participate in ensuring appropriate disclosures in depositions in
      civil litigation, agency counsel may properly do so in congressional depositions.

                                                17
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 19 of 20




                       Opinions of the Office of Legal Counsel in Volume 43

      practice would put the onus on the agency employee and his private
      counsel to divine whether the agency would have privilege concerns about
      each question, and then “request a break during the deposition to consult
      with” agency counsel. April 10 Cummings Letter at 3; see April 22 Cum-
      mings Letter at 3. Because this practice would leave such judgments
      entirely up to the employee and his private counsel, as well as depend on
      the discretion of the Committee’s staff to grant the requested break, it
      would not adequately ensure that the agency could make the necessary
      decisions to protect privileged information during the course of the depo-
      sition. It also would prevent the Executive Branch from ensuring that the
      testimony provided was accurate, complete, and properly limited in scope.
         We recognize that there is at least one circumstance—an appearance
      before a grand jury—where a witness’s attorney must remain in a separate
      room during questioning. See Fed. R. Crim. P. 6(d)(1); United States v.
      Mandujano, 425 U.S. 564, 581 (1976). However, grand juries can hardly
      provide a model for congressional depositions, because they operate under
      conditions of extreme secrecy, and there is a long-established practice of
      excluding all attorneys for witnesses before the grand jury. See, e.g., In re
      Black, 47 F.2d 542, 543 (2d Cir. 1931); Latham v. United States, 226 F.
      420, 422 (5th Cir. 1915). Committee Rule 15(e) not only lacks the histori-
      cal pedigree of grand-jury proceedings, but the information collected in
      congressional depositions is not inherently confidential. Indeed, the
      Committee does not even have a categorical objection to allowing wit-
      nesses to be accompanied by counsel. Rather, the rule permits witnesses
      to be accompanied by counsel of their choice, provided that counsel does
      not represent the agency as well. This targeted exclusion underscores the
      separation of powers problems. 5




         5
           Indeed, the federal courts have recognized that “[t]here is a clear difference between
      Congress’s legislative tasks and the responsibility of a grand jury.” Senate Select Comm.,
      498 F.2d at 732; see also Nixon, 418 U.S. at 712 n.19 (distinguishing the “constitutional
      need for relevant evidence in criminal trials,” on the one hand, from “the need for relevant
      evidence in civil litigation” and “congressional demands for information,” on the other).
      Congressional depositions appear more akin to depositions in civil litigation, rather than
      grand juries, and in civil litigation it is well established that attorneys “representing the
      deponent” and attorneys representing “any party to the litigation” have “the right to be
      present” at a deposition. Jay E. Grenig & Jeffrey S. Kinsler, Handbook of Federal Civil
      Discovery and Disclosure § 5:29 (4th ed. 2018).

                                                  18
Case 1:21-cr-00670-CJN Document 28-12 Filed 02/04/22 Page 20 of 20




            Attempted Exclusion of Agency Counsel from Congressional Depositions

                                            IV.

         For the foregoing reasons, we concluded that the Committee’s prohibi-
      tion on agency counsel’s attendance at depositions impermissibly in-
      fringed on the President’s constitutional authority to protect information
      within the scope of executive privilege and to supervise the Executive
      Branch’s communications with Congress. Although the Executive Branch
      must facilitate legitimate congressional oversight, the constitutionally
      mandated accommodation process runs both ways. See Am. Tel. & Tel.
      Co., 567 F.2d at 127, 130–31. Just as the Executive must provide Con-
      gress with information necessary to perform its legislative functions,
      Congress through its oversight processes may not override the Executive
      Branch’s constitutional prerogatives. See Barenblatt, 360 U.S. at 112.
      Here, the constitutional balance requires that agency representatives be
      permitted to assist agency officials in connection with providing deposi-
      tion testimony, including on matters that implicate privileged information.
      Thus, we advised that the subpoenas purporting to compel Mr. Gore and
      Mr. Kline to appear without agency counsel exceeded the Committee’s
      authority and were without legal effect.

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                                            19
